Case 1:99-cv-00518-RAE-DAR             ECF No. 59, PageID.79           Filed 05/19/06      Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
                                   _____________________

 LUDALE RANDY JONES,
                                                               Case No. 1:99-CV-518
                Petitioner,

 v.                                                            Hon. Richard Alan Enslen

 DAVID GUNDY,
                                                               ORDER
             Respondent.
 _____________________________/


        This matter is before the Court to determine Petitioner Ludale Randy Jones’ Motion for

 Rehearing of the March 24, 2006 Order denying his Federal Rule of Civil Procedure 60(b) motion

 for relief from judgment. Oral argument of the Motion is unnecessary in light of the briefing and

 the issues raised. See W.D. Mich. L. Civ. R. 7.3(d).

        Petitioner’s Motion for Rehearing is in substance a motion for reconsideration of the March

 24, 2006 Order. Pursuant to Western District of Michigan Local Civil Rule 7.4(a), reconsideration

 is appropriate only when the movant “demonstrate[s] a palpable defect by which the Court and the

 parties have been mislead . . . [and] that a different disposition must result from the correction

 thereof.” Plaintiff’s Motion fails to meet this standard. The Order in question properly denied the

 Rule 60(b) motion for relief because none of the subsections of Rule 60(b), including the subsection

 (b)(6) “extraordinary circumstance” exception, dictates that relief should be afforded on the facts of

 the present case. This is particularly so in light of federal precedent and the holding in Gonzalez v.

 Crosby,125 S. Ct. 2641, 2650 (2005) (“It is hardly extraordinary that subsequently, after petitioner's

 case was no longer pending, this Court arrived at a different interpretation.”)
Case 1:99-cv-00518-RAE-DAR        ECF No. 59, PageID.80   Filed 05/19/06   Page 2 of 2




       THEREFORE, IT IS HEREBY ORDERED that Petitioner Ludale Randy Jones’ Motion

 for Rehearing (Dkt. No. 56) is DENIED.

                                          /s/ Richard Alan Enslen
 DATED in Kalamazoo, MI:                  RICHARD ALAN ENSLEN
     May 19, 2006                         SENIOR UNITED STATES DISTRICT JUDGE




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